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                  IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                              DIVISION OF ST. CROIX

 LORETTA S. BELARDO, ANGELA TUITT-     )
 SMITH, BERNARD A. SMITH, YVETTE       )
 ROSS-EDWARDS, AVON CANNONIER,         )                    1:18-CV-00008
 ANASTASIA M. DOWARD, DARYL            )
 RICHARDS, EVERTON BRADSHAW,           )                    CLASS ACTION
 RODELIQUE WILLIAMS-BRADSHAW,          )
 PAMELA GREENIDGE and WINSTON          )                    JURY TRIAL DEMANDED
 GREENIDGE, on behalf of themselves and all
                                       )
 others similarly situated,            )
                                   Plaintiffs,
                                       )
                                       )
                   v.                  )
                                       )
 BANK OF NOVA SCOTIA, SCOTIABANK       )
 DE PUERTO RICO, INC.                  )
                           Defendants. )
                                       )

                MOTION TO DISMISS SECOND AMENDED COMPLAINT

       COMES NOW, the Defendants Bank of Nova Scotia and Scotiabank de Puerto Rico,

Inc., by and through counsel, and move this Court to dismiss Plaintiffs’ Seconded Amended

Complaint, pursuant to Federal Rules of Civil Procedure 12(b)(1) and (6), for lack of subject-

matter jurisdiction and failure to state a claim upon which relief can be granted. This Court has

subject-matter jurisdiction over this case pursuant to 28 U.S.C. § 1331, which is based solely on

Plaintiffs’ claim under The Real Estate Settlement Procedures Act (“RESPA”), 12 U.S.C. §

2605(m). Plaintiffs’ fail assert any factual allegations to support the outrageous conclusion that

Defendants charged insurance premiums to its customers while engaging in an elaborate scheme

to conceal the inexplicable failure to procure FPI coverage. Indeed, this conclusion illogical and

implausible and must be dismissed pursuant to FED. R. CIV. P. 12(b)(6). Because Plaintiffs’

RESPA claim cannot survive this motion to dismiss, and it is the only basis upon which this

Court may exercise its jurisdiction, then this Court must dismiss the case in its entirety.
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         All of Plaintiffs’ non- federal claims are based upon the same flawed allegations. Because

all of the claims arise out of the same incorrect and unsupported conclusion, they all fail for

failure to state a claim upon which relief may be granted and should be dismissed. This being

Plaintiffs’ fifth attempt to state a plausible claim1, further amendment is clearly futile and

dismissal should be with prejudice.

         This Motion is supported by a Memorandum of Law, filed simultaneously herewith. A

Proposed Order is also attached for the Court’s consideration.

DATED: March 15, 2019                                 Respectfully Submitted,

                                                      DUDLEY RICH LLP

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                                                      Scotiabank de Puerto Rico, Inc.




1
  Plaintiffs’ first complaint was filed on February 14, 2018, as Case No. 18-cv-00004. Plaintiffs filed a first amended
complaint, on March 14, 2018, but then voluntarily dismissed the action on March 20, 2018, so that they would not
need leave of court to amend again. Plaintiffs re-filed the same claims as the initial complaint in this case on March
20, 2018. [ECF 1.] When Scotiabank filed a motion to dismiss [ECF 3], instead of addressing the merits, Plaintiffs
filed a First Amended Complaint (the fourth iteration). [ECF 5.] Scotiabank renewed its motion to dismiss. [ECF 9.]
On December 28, 2018, Plaintiffs filed a motion for leave to file the SAC [ECF 28, 29], which Scotiabank opposed.
[ECF 36.] The Court allowed the SAC, rendering the renewed motion to dismiss moot. [ECF 44, 51.]
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                                     CERTIFICATE OF SERVICE

        I hereby certify that on the 15th day of March, 2019, I electronically filed the foregoing

MOTION TO DISMISS SECOND AMENDED COMPLAINT with the Clerk of the Court

using CM/EFC system, which will send a notification of such (NEF) to the following:

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                                                             /s/Carol Ann Rich
